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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


GREENBUSH BREWING CO., et al.,

          Plaintiffs,                         Case No. 1:19−cv−536

   v.                                         Hon. Paul L. Maloney

MICHIGAN LIQUOR CONTROL
COMMISSION, et al.,

          Defendants.
                                          /

                                      ORDER

       This matter is before the Court on Defendants' motion to stay (ECF No.
25), which was filed October 29, 2019. Effective September 28, 2015, Local
Rule 7.1(d) was amended to require the following: "All nondispositive
motions shall be accompanied by a separately filed certificate setting forth in
detail the efforts of the moving party to comply with the obligation created by
this rule." W.D. Mich. LCivR 7.1(d); see Administrative Order No. 15−RL−78
(Sept. 11, 2015). The motion fails to comply with this requirement.
Accordingly,

      IT IS ORDERED that Defendants' motion to stay (ECF No. 25) is hereby
held in abeyance pending compliance with Local Rule 7.1(d).

      IT IS FURTHER ORDERED that movant shall file the certificate required
by Local Rule 7.1(d) within five days of the date of this Order. Failure to
timely file the certificate will result in the dismissal of the motion.

       IT IS FURTHER ORDERED that any response to the motion shall be
filed within fourteen days of the filing of the certificate, should the certificate be
filed.

        IT IS SO ORDERED.


Dated: October 30, 2019                   /s/ Paul L. Maloney
                                         PAUL L. MALONEY
                                         Paul L. Maloney United States
                                         District Judge
